                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
                                                  )       No. 3:06-CR-108
V.                                                )       (JORDAN/SHIRLEY)
                                                  )
                                                  )
                                                  )
GREGORY FLACK                                     )

                      ORDER OF DETENTION PENDING TRIAL


              A detention hearing was held in this case on August 22, 2006. Brownlow

Marsh, Assistant United States Attorney, was present representing the government, and

Jonathan Wood was present representing the defendant. Counsel for the defendant stated that

the defendant wished to waive his right to a detention hearing at this time and reserve the

right to have a hearing at a later date, if appropriate. Pursuant to the defendant signing a

Waiver of Detention Hearing, the defendant is to be detained. 18 U.S.C. § 3142. The

government stated they had no objections. The defendant was present and stated that he

knew he would remain in jail pending trial. For good cause, and by agreement of the

defendant, this detention hearing is waived and the defendant is detained.

              The defendant is aware of his rights to a prompt detention hearing and to

require the government to meet its burden of proving that no conditions of release exist

which will reasonably assure his appearance in court and the safety of the community. The

defendant knows that if his detention hearing is waived he will remain in custody while it is


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continued. The defendant acknowledged in open court that he understands his rights and the

consequences of waiving his detention hearing.

             For good cause shown, the defendant’s request not to contest, and to waive the

detention hearing is hereby GRANTED.

             It is therefore ORDERED that:

             (1)    Defendant be detained.;

             (2)    Defendant be committed to the custody of the Attorney
                    General for confinement in a corrections facility separate, to
                    the extent practicable, from persons awaiting or serving
                    sentences or being held in custody pending appeal;

             (3)    Defendant be afforded reasonable opportunity for private
                    consultation with counsel; and

             (4)    On order of a court of the United States or on request of an
                    attorney for the government, the person in charge of the
                    corrections facility in which the defendant is confined
                    deliver the defendant to a United States marshal for the
                    purpose of an appearance in connection with any court
                    proceeding.


                                  ENTER:

                                      s/C. Clifford Shirley, Jr.
                                  United States Magistrate Judge




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